        Case 24-17484-ABA                    Doc 57        Filed 08/16/24 Entered 08/16/24 10:21:40                             Desc Main
                                                          Document      Page 1 of 12




Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)    24-17484
                                                                                                                                Check if this is an
                                                                                                                                amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                       12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
      individual serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

               Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
               Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
               Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
               Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
               Schedule H: Codebtors (Official Form 206H)
               Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
               Amended Schedule       Voluntary Petition
               Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
               Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       August 16, 2024                 X /s/ Amanjot Kaur
                                                           Signature of individual signing on behalf of debtor

                                                            Amanjot Kaur
                                                            Printed name

                                                            CEO
                                                            Position or relationship to debtor




Official Form 202                                   Declaration Under Penalty of Perjury for Non-Individual Debtors
          Case 24-17484-ABA                                    Doc 57              Filed 08/16/24 Entered 08/16/24 10:21:40                                                          Desc Main
                                                                                  Document      Page 2 of 12
Fill in this information to identify the case:

Debtor name           FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:                      DISTRICT OF NEW JERSEY

Case number (if known)              24-17484
                                                                                                                                                                                     Check if this is an
                                                                                                                                                                                     amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                     $        3,772,361.24

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                    $        3,772,361.24


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $        4,394,205.06


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $                    0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           586,685.60


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                           $           4,980,890.66




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
          Case 24-17484-ABA                 Doc 57        Filed 08/16/24 Entered 08/16/24 10:21:40                                    Desc Main
                                                         Document      Page 3 of 12
Fill in this information to identify the case:

Debtor name         FASTLINE CARGO, LLC d/b/a FLC

United States Bankruptcy Court for the:     DISTRICT OF NEW JERSEY

Case number (if known)       24-17484
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                     12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

       No. Go to Part 2.
        Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                   Current value of
                                                                                                                                      debtor's interest

3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
          Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                           number


          3.1.     Wells Fargo Bank                                  checking                              4199                                  $124,800.00




          3.2.     Fulton Bank                                       checking                              5914                                     $1,864.55




          3.3.     Phoenixville Bank                                 checking                                                                         $716.00



4.        Other cash equivalents (Identify all)

5.        Total of Part 1.                                                                                                                   $127,380.55
          Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

       No. Go to Part 3.
       Yes Fill in the information below.

7.        Deposits, including security deposits and utility deposits
          Description, including name of holder of deposit



Official Form 206A/B                               Schedule A/B Assets - Real and Personal Property                                                     page 1
          Case 24-17484-ABA                   Doc 57        Filed 08/16/24 Entered 08/16/24 10:21:40                          Desc Main
                                                           Document      Page 4 of 12
Debtor           FASTLINE CARGO, LLC d/b/a FLC                                              Case number (If known) 24-17484
                 Name




          7.1.     Security Deposit with landlord                                                                                       $33,600.00



8.        Prepayments, including prepayments on executory contracts, leases, insurance, taxes, and rent
          Description, including name of holder of prepayment


9.        Total of Part 2.                                                                                                          $33,600.00
          Add lines 7 through 8. Copy the total to line 81.

Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

      No. Go to Part 4.
      Yes Fill in the information below.

11.       Accounts receivable
          11a. 90 days old or less:                    849,073.00      -                                   0.00 = ....                 $849,073.00
                                        face amount                           doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                         $849,073.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:          Investments
13. Does the debtor own any investments?

      No. Go to Part 5.
      Yes Fill in the information below.


Part 5:          Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

      No. Go to Part 6.
      Yes Fill in the information below.


Part 6:          Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

      No. Go to Part 7.
      Yes Fill in the information below.


Part 7:          Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

      No. Go to Part 8.
      Yes Fill in the information below.

          General description                                              Net book value of         Valuation method used    Current value of
                                                                           debtor's interest         for current value        debtor's interest
                                                                           (Where available)

39.       Office furniture

40.       Office fixtures


Official Form 206A/B                                  Schedule A/B Assets - Real and Personal Property                                       page 2
          Case 24-17484-ABA                  Doc 57        Filed 08/16/24 Entered 08/16/24 10:21:40                           Desc Main
                                                          Document      Page 5 of 12
Debtor       FASTLINE CARGO, LLC d/b/a FLC                                                  Case number (If known) 24-17484
             Name

41.       Office equipment, including all computer equipment and
          communication systems equipment and software
          desks, chairs, computers                                                   $4,000.00      Liquidation                               $0.00



42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
          books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
          collections; other collections, memorabilia, or collectibles

43.       Total of Part 7.                                                                                                                   $0.00
          Add lines 39 through 42. Copy the total to line 86.

44.       Is a depreciation schedule available for any of the property listed in Part 7?
              No
             Yes

45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
             No
             Yes

Part 8:      Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

      No. Go to Part 9.
      Yes Fill in the information below.

          General description                                            Net book value of          Valuation method used     Current value of
          Include year, make, model, and identification numbers          debtor's interest          for current value         debtor's interest
          (i.e., VIN, HIN, or N-number)                                  (Where available)

47.       Automobiles, vans, trucks, motorcycles, trailers, and titled farm vehicles

          47.1.    2021 Vanguard Dry Van Trailer F101,
                   Serial # ending 6833 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F102,
                   Serial # ending 6832 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F103,
                   Serial # ending 6829 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F107,
                   Serial # ending 6830 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F105,
                   Serial # ending 6831 Value $20,000.00                                  $0.00     Comparable sale                    $100,000.00


          47.2.    2021 Vanguard Dry Van Trailer F106,
                   Serial # ending 6569 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F104,
                   Serial # ending 6568 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F108,
                   Serial # ending 6572 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F109,
                   Serial # ending 6570 Value $20,000.00
                   2021 Vanguard Dry Van Trailer F110,
                   Serial # ending 6582 Value $20,000.00                                  $0.00     Comparable sale                    $100,000.00


          47.3.    2018 Utility Dry Van Trailer F111, Serial #
                   ending 1252 (total loss)                                               $0.00     N/A                                       $0.00




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 3
         Case 24-17484-ABA              Doc 57      Filed 08/16/24 Entered 08/16/24 10:21:40                   Desc Main
                                                   Document      Page 6 of 12
Debtor      FASTLINE CARGO, LLC d/b/a FLC                                    Case number (If known) 24-17484
            Name

         47.4.   2018 Utility Dry Van Trailer F112, Serial #
                 ending 1259                                                $0.00    Comparable sale                 $15,000.00


         47.5.   2018 Utility Dry Van Trailer F113, Serial #
                 ending 1257 (total loss)                                   $0.00    N/A                                   $0.00


         47.6.   2018 Utility Trailer F114, Serial # ending
                 1262                                                       $0.00    Comparable sale                 $15,000.00


         47.7.   2018 Utility Dry Van Trailer F115, Serial #
                 ending 1279                                                $0.00    Comparable sale                 $15,000.00


         47.8.   2013 Wabash Dry Van Trailer F116,
                 Serial # ending 6597                                       $0.00    Comparable sale                 $10,000.00


         47.9.   2017 Utility Dry Van Trailer F117, Serial #
                 ending 3931                                                $0.00    Comparable sale                 $13,000.00


         47.10 2017 Utility Dry Van Trailer F118, Serial #
         .     ending 6619                                                  $0.00    Comparable sale                 $13,000.00


         47.11 2002 Utility Refer Van Trailer F119,
         .     Serial # ending 7963                                         $0.00    Comparable sale                  $6,000.00


         47.12 2023 Hyundai Dry Van Trailer F120,
         .     Serial # ending 4028 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F121,
                 Serial # ending 4027 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F122,
                 Serial # ending 4030 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F123,
                 Serial # ending 4026 Vlaue $25,000.00                      $0.00    Comparable sale                $100,000.00


         47.13 2023 Hyundai Dry Van Trailer F124,
         .     Serial # ending 4014 Value $25,000.00
                 2023 Hyundai Trailer F125, Serial #
                 ending 4029 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F126,
                 Serial # ending 4025 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F127,
                 Serial # ending 4024 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F128,
                 Serial # ending 4019 Value $25,000.00
                 2023 Hyundai Dry Van Trailer F129,
                 Serial # ending 4016 Value $25,000.00                      $0.00    Comparable sale                $125,000.00




Official Form 206A/B                          Schedule A/B Assets - Real and Personal Property                             page 4
         Case 24-17484-ABA           Doc 57     Filed 08/16/24 Entered 08/16/24 10:21:40                   Desc Main
                                               Document      Page 7 of 12
Debtor      FASTLINE CARGO, LLC d/b/a FLC                                Case number (If known) 24-17484
            Name

         47.14 2019 Hyundai Dry Van Trailer F132,
         .     Serial # ending 5005 Value $24,000.00
               2019 Hyundai Dry Van Trailer F133,
               Serial # ending 5004 Value $24,000.00
               2020 Hyundai HTC Trailer F135, Serial #
               ending 5035 Value $27,000.00
               2020 Great Dane Dry Van Trailer F136,
               serial # ending 8905 Value $27,000.00
               2020 Hyundal HTC Trailer F137, serial #
               ending 5100 Value $27,000.00
               2020 Great Dane Trailer F138, serial #
               ending 8907 Value $27,000.00
               2020 Hyundai Trailer F139, serial #
               ending 5034 Value $27,000.00
               2023 VOLVO - 6057 - 186,179 miles
               Serial Ending 6050 Value $90,000                         $0.00    Comparable sale                $273,000.00


         47.15 2014 Hyundai Dry Van Trailer F140,
         .     serial # ending 0030                                     $0.00    Comparable sale                 $15,000.00


         47.16 2013 Great Dane Dry Van Trailer F141,
         .     serial # ending 1370                                     $0.00    Comparable sale                 $15,000.00


         47.17 2016 Wabash Dry Van Trailer F130,
         .     serial # ending 3193                                     $0.00    Comparable sale                 $15,000.00


         47.18 2019 Great Dane Champion Trailer F131,
         .     serial # ending 4856                                     $0.00    Comparable sale                 $15,000.00


         47.19 2001 Wabash Dry Van Trailer GY5301,
         .     serial # ending 3143                                     $0.00    Comparable sale                  $6,000.00


         47.20 2002 Wabash Dry Van Trailer GY5302,
         .     serial # ending 5473                                     $0.00    Comparable sale                  $6,000.00


         47.21 2002 Wabash Dry Van Trailer GY5305,
         .     serial # ending 5951                                     $0.00    Comparable sale                  $6,000.00


         47.22 2002 Wabash Dry Van Trailer GY5308,
         .     serial # ending 5670                                     $0.00    Comparable sale                  $6,000.00


         47.23 2002 Wabash Dry Van Trailer GY5311,
         .     serial # ending 5253                                     $0.00    Comparable sale                  $6,000.00


         47.24 2016 Volvo (904,830 miles) 6009 Serial
         .     Ending 936872                                            $0.00    Comparable sale                 $15,000.00


         47.25 2017 Volvo (763,006 miles) 6012 Serial
         .     ending 970429                                            $0.00    Comparable sale                 $21,000.00




Official Form 206A/B                      Schedule A/B Assets - Real and Personal Property                             page 5
         Case 24-17484-ABA           Doc 57     Filed 08/16/24 Entered 08/16/24 10:21:40                    Desc Main
                                               Document      Page 8 of 12
Debtor      FASTLINE CARGO, LLC d/b/a FLC                                 Case number (If known) 24-17484
            Name

         47.26 2020 Kenworth (606,517 miles) 6031
         .     Serial ending 399959                                      $0.00    Comparable sale                 $35,000.00


         47.27 2015 Volvo (747,908 miles) 6037 Serial
         .     ending #182442                                            $0.00    Comparable sale                 $25,000.00


         47.28 2015 Volvo (721,302 miles) 6038 Serial
         .     ending # 182471                                           $0.00    Comparable sale                 $25,000.00


         47.29 2016 Volvo (586,137 miles) 6044 Serial
         .     Ending #955690                                            $0.00    Comparable sale                 $25,000.00


         47.30 2023 Volvo (272,638 miles) 6042 Serial
         .     ending # 606950                                           $0.00    Comparable sale                 $55,000.00


         47.31 2015 Mack (395,092 miles) 6059 Serial
         .     ending # 047994                                           $0.00    Comparable sale                 $10,000.00


         47.32 2014 Volvo (790,266 miles) 6060 Serial
         .     ending #154755                                            $0.00    Comparable sale                 $15,000.00


         47.33 2017 Freightliner (804,851 miles) 6061
         .     Serial Ending #HM6070                                     $0.00    Comparable sale                 $15,000.00


         47.34 2019 Volvo 6008 Serial ending 204000
         .     Value 21,000.00
               2019 Volvo 6011 Serial ending 204004
               Value 21,000.00                                           $0.00    Comparable sale                 $42,000.00


         47.35 2022 Kenworth 6022 serial ending
         .     131884 Paccar Loan 3882                                   $0.00    Comparable sale                 $40,000.00


         47.36 2020 Freightliner 6023 Serial ending
         .     K53783 M2 EQUIP 00040                                     $0.00    Comparable sale                 $35,000.00


         47.37 2020 Freightliner 6058 Serial Ending
         .     SLM3714 BMO 8001                                          $0.00    Comparable sale                 $40,000.00


         47.38 2019 Volvo - 579,027 miles 6041 Serial
         .     ending 902731 BMO 9001                                    $0.00    Comparable sale                 $35,000.00


         47.39 2018 Volvo - 757,833 miles 6013 Serial
         .     ending 889048 BMO 9001                                    $0.00    Comparable sale                 $21,000.00


         47.40 2019 Volvo - 719,574 miles 6015 Serial
         .     Ending KJ4367 BMO 5001                                    $0.00    Comparable sale                 $21,000.00




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                             page 6
         Case 24-17484-ABA           Doc 57     Filed 08/16/24 Entered 08/16/24 10:21:40                    Desc Main
                                               Document      Page 9 of 12
Debtor      FASTLINE CARGO, LLC d/b/a FLC                                 Case number (If known) 24-17484
            Name

         47.41 2021 Freightliner - 477,145 miles 6016
         .     Serial Ending MU8303 Amur 7899                            $0.00    Comparable sale                 $40,000.00


         47.42 2018 Volvo - 593,404 miles 6017 Serial
         .     Ending 887597 BMO 6001                                    $0.00    Comparable sale                 $20,000.00


         47.43 2022 Kenworth - 419,898 miles6018
         .     Serial Ending 474947 Channel Loan
               48-1M                                                     $0.00    Comparable sale                 $40,000.00


         47.44 2019 Volvo - 810,291 miles 6020 Serial
         .     ending 899693 BMO 8002                                    $0.00    Comparable sale                 $40,000.00


         47.45 2018 Volvo - 840,001 miles 6021 Serial
         .     Ending 998401 BMO 9001                                    $0.00    Comparable sale                 $20,000.00


         47.46 2018 Volvo - 660,162 miles 6029 Serial
         .     Ending 998416 BMO 9001                                    $0.00    Comparable sale                 $30,000.00


         47.47 2020 Freightliner 6039 Serial ending
         .     KS3719 Estimated Value $40,000.00
               2020 FREIGHTLINER 6040 Serial ending
               KS3685 - 550,034 miles Estimated Value
               $40,000.00                                                $0.00    Comparable sale                 $80,000.00


         47.48 2019 Volvo - 590,830 miles 6045 Serial
         .     ending 204722 Value $35,000.00
               2019 Volvo - 560,651 miles 6046 Serial
               ending 204724 Value $35,000.00                            $0.00    Comparable sale                 $70,000.00


         47.49 2019 Volvo - 767,705 miles 6033 Serial
         .     ending 4721 Value $35,000
               2019 Volvo - 660,162 miles 6032 Serial
               ending 4728 Value $35,000                                 $0.00    Comparable sale                 $70,000.00


         47.50 2020 Freightliner - 6024- 660,162 miles
         .     Serial Ending 3789 Fulton Loan 9006
               Value $35,000.00
               2020 Frieghtliner 6025 - 686,617 miles
               Serial ending 3680 Fulton Loan 9006
               Value $35,000
               2020 Frieghtliner-6026 - 683,147 miles
               Serial Ending 3673 Fulton Loan 9006
               Value $35,000                                             $0.00    Comparable sale                $105,000.00


         47.51
         .     2023 VOLVO -6043- 335,240 miles                           $0.00    Comparable sale                 $55,000.00




Official Form 206A/B                       Schedule A/B Assets - Real and Personal Property                             page 7
         Case 24-17484-ABA                 Doc 57       Filed 08/16/24 Entered 08/16/24 10:21:40                        Desc Main
                                                       Document     Page 10 of 12
Debtor      FASTLINE CARGO, LLC d/b/a FLC                                             Case number (If known) 24-17484
            Name

         47.52 2021 FREIGHTLINER - 6047 - 374,513
         .     miles Serial ending 8909
                  2021 FREIGHTLINER -6048 - 467,766
                  miles Serial Ending 8753
                  2021 FREIGHTLINER - 6049- 408,425
                  miles Serial Ending 9009
                  2021 FREIGHTLINER - 6051 -353,202
                  miles Serial Ending 8835
                  2021 FREIGHTLINER - 6052 -414,953
                  miles Serial Ending 8992
                  2021 FREIGHTLINER - 6053 -426,701
                  miles Serial Ending 8698
                  2021 FREIGHTLINER - 6054 - 461,503
                  miles Serial Ending 8817
                  2022 VOLVO - 6055 -379,115 miles Serial
                  Ending 6398
                  2021 FREIGHTLINER - 6056 -388,975
                  miles Serial Ending 8752                                          $0.00     Comparable sale                 $470,000.00


         47.53 2021 VOLVO - 6062 - 394,726 miles
         .     Serial ending 2897 Value $55,000.00                                  $0.00     Comparable sale                  $55,000.00


         47.54 2019 Volvo-560,651 miles 6046 Serial
         .     ending 204724 BMO 6001                                               $0.00     Comparable sale                  $70,000.00


         47.55 2022 Kenworth 6019 serial ending
         .     131885 Paccar Loan 2455                                              $0.00     Comparable sale                  $40,000.00


         47.56 2017 Volvo - 6007 - 607,243 Miles Serial
         .     Ending #0438                                                         $0.00     Comparable sale                  $15,000.00



48.      Watercraft, trailers, motors, and related accessories Examples: Boats, trailers, motors,
         floating homes, personal watercraft, and fishing vessels

49.      Aircraft and accessories


50.      Other machinery, fixtures, and equipment (excluding farm
         machinery and equipment)
         Qty 13 - 2023 Tripac Auxiliary Power Units                                 $0.00     Comparable sale                 $100,000.00


         Qty 12 - Auxiliary Power Units                                             $0.00     Comparable sale                  $92,307.69



51.      Total of Part 8.                                                                                                 $2,762,307.69
         Add lines 47 through 50. Copy the total to line 87.

52.      Is a depreciation schedule available for any of the property listed in Part 8?
             No
            Yes

53.      Has any of the property listed in Part 8 been appraised by a professional within the last year?
            No
            Yes


Official Form 206A/B                              Schedule A/B Assets - Real and Personal Property                                  page 8
           Case 24-17484-ABA                Doc 57       Filed 08/16/24 Entered 08/16/24 10:21:40                            Desc Main
                                                        Document     Page 11 of 12
Debtor       FASTLINE CARGO, LLC d/b/a FLC                                                 Case number (If known) 24-17484
             Name

Part 9:      Real property
54. Does the debtor own or lease any real property?

      No. Go to Part 10.
      Yes Fill in the information below.


Part 10:     Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

      No. Go to Part 11.
      Yes Fill in the information below.


Part 11:     All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

      No. Go to Part 12.
      Yes Fill in the information below.




Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                     page 9
           Case 24-17484-ABA                             Doc 57          Filed 08/16/24 Entered 08/16/24 10:21:40                                          Desc Main
                                                                        Document     Page 12 of 12
Debtor          FASTLINE CARGO, LLC d/b/a FLC                                                                       Case number (If known) 24-17484
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $127,380.55

81. Deposits and prepayments. Copy line 9, Part 2.                                                                 $33,600.00

82. Accounts receivable. Copy line 12, Part 3.                                                                   $849,073.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                  $2,762,307.69

88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

91. Total. Add lines 80 through 90 for each column                                                         $3,772,361.24            + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $3,772,361.24




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                       page 10
